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                     IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ANTOINE WILLIS, DELYN MCKENZIE-              )
LOPEZ and ERICA LIESCHKE, individually       )
and on behalf of all others similarly situated,
                                             ) Case No. 1:16-cv-10791
                                             )
                  Plaintiffs,                )
            v.                               ) Honorable Sara L. Ellis
                                             )
CITY OF CHICAGO, a Municipal Corporation, )
                                             )
                  Defendant.                 )
____________________________________________ )

                                  AMENDED COMPLAINT

       Plaintiffs Antoine Willis, Delyn McKenzie-Lopez and Erica Lieschke (“Plaintiffs”),

individually and on behalf of all others similarly situated, complain against Defendant City of

Chicago (the “City” or “Defendant”) as follows:

                                     ONCE UPON A TIME…

                       Once upon a time, there was a Mayor out of luck.
                          The Mayor had spent his City’s last buck.

                         He asked all of his horses and men what to do,
                            but not a single one had a solitary clue.

                      But then a new staffer, short in stature, had a plan.
                      A plan that would fix all the problems in the land.

                       “Mr. Mayor!” he cried. “I know just what to do!
                        We’ll spin straw into gold to raise revenue.”

                      The Mayor got quiet. You could only hear crickets.
                     He had no straw at all, just void speed camera tickets.

        The little aide jumped up. “Those old tickets are fine! The red light tickets too!
                    We’ll take these void tickets and turn old debts into new!”

                          The Mayor smiled. He just had to laugh.
               You can always balance the budget with Rumpelstiltskin on staff.
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       1.      Unfortunately, this is no fairy tale. It is just the latest chapter in the City of

Chicago’s scandal-plagued speed and red light camera program.

       2.      Over the past decade, the City has collected hundreds of millions of dollars in fines

and penalties from individuals accused of speed and red light camera violations. Because the City

failed to properly notify these individuals of their alleged violations and illegally sped up the

imposition of liability, a Judge in the Circuit Court of Cook County recently held that those fines

and penalties are illegal and void. See Simpson et al. v. City of Chicago, Case No. 15 CH 4802

(Circuit Court of Cook County, Illinois).

       3.      On the hook for hundreds of millions of dollars in illegal fines and penalties, the

City recently passed an ordinance that purports to allow it to issue new notices and initiate new

hearings that will create new liabilities, fines and penalties based on tickets issued years ago that a

Judge has already ruled were void.

       4.      Unfortunately for the City, in the real world Rumpelstiltskin cannot save the day.

That is because the Illinois Vehicle Code and the Illinois Constitution specifically prohibit the

procedures the Ordinance purports to authorize.

                                            INTRODUCTION

       5.      This action challenges the legality and constitutionality of the City of Chicago

Automated Enforcement Violation Review and Refund Ordinance of 2016 (the “Automated

Enforcement Ordinance” or “Ordinance”), which became effective on September 21, 2016. The

Automated Enforcement Ordinance purports to authorize administrative adjudications of alleged

speed and red light camera offenses that occurred from approximately March 23, 2010 to May 14,

2015. A copy of the Automated Enforcement Ordinance is attached hereto as Ex. A.




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       6.      All of the alleged violations covered by the Ordinance were previously subjected

to administrative adjudications years ago. As explained below, however, none of the accused

individuals subjected to those adjudications are liable for the alleged speed or red light camera

violations due to the City’s failure to follow mandatory notice provisions and improper

acceleration of liability determinations and late penalties in violation of the law. In other words,

these citizens won and the City lost.

       7.      Having failed the first time around to establish liability for these alleged violations,

the City passed the Automated Enforcement Ordinance, not for the altruistic reasons it claims, but

rather in a misguided and erroneous effort to get a second bite at the apple and attempt to impose

liability for these same offenses years after the fact.

       8.      The City, however, cannot willy-nilly change its own laws to give itself a second

opportunity to extract fines and penalties from its citizens. To the contrary, the City’s ability to

enforce speed and red light camera violations is specifically limited by Illinois law.

       9.      The Illinois Vehicle Code expressly limits a municipality’s home rule authority to

adjudicate speed and red light camera violations and requires that any procedures adopted by a

municipality to adjudicate such violations be consistent with the specific time limitations and

procedures enumerated in the Illinois Vehicle Code.

       10.     Nothing in the Illinois Vehicle Code, however, authorizes a second proceeding to

adjudicate “new and separate” liability for past speed and red light camera violations. Compare

625 ILCS 5/11-208.3(a) (setting forth specific procedures for the one and only type of

administrative proceeding to adjudicate liability and impose fines and penalties) with Automated

Enforcement Ordinance (Ex. A) (setting forth very different procedures for administrative

proceeding to adjudicate “new and separate” liabilities for offenses that occurred years ago).



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       11.     In fact, the Automated Enforcement Ordinance is at odds with virtually every

procedural requirement of the Illinois Vehicle Code and completely undermines its purpose to

ensure the “fair and efficient” adjudication of speed and red light camera violations. 625 ILCS

5/11-208.3(a). Because the procedures set forth in the Automated Enforcement Ordinance are not

authorized by and, in fact, are inconsistent with, the procedures specified in the Illinois Vehicle

Code, the Ordinance is an abuse of the City’s home rule authority and, therefore, is unconstitutional

and invalid.

       12.     The Ordinance, in fact, suffers from a litany of infirmities. For example, it violates

the Illinois Vehicle Code’s prohibition on the administrative adjudication of speed and red light

camera offenses that occurred prior to the effective date of the ordinance authorizing said

adjudications. See 625 ILCS 5/11-208.3(a) (“The administrative system shall only have authority

to adjudicate civil offenses … that occur after the effective date of the ordinance adopting such a

system under this Section.”) (emphasis added). In other words, the Illinois Vehicle Code prohibits

a municipality from adopting an ordinance authorizing the administrative adjudication of past

offenses, but the Automated Enforcement Ordinance purports to do just that.

       13.     The Ordinance also authorizes the initiation of an administrative adjudication of

alleged speed and red light camera offenses more than 90 days after the alleged offense, which

violates the notice requirements of the Illinois Vehicle Code. The Ordinance also imposes late

payment penalties contemporaneously with a determination of liability, which also violates

limitations imposed by the Illinois Vehicle Code.

       14.     Equally, if not more disturbing, is that the City has already illegally and unlawfully

assessed and/or collected fines and penalties for the speed and red light camera offenses subject to

the Ordinance. Yet now, years after the fact, the Ordinance purports to authorize the administrative



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adjudication of liability for those fines and penalties. But the due process clause of the Illinois

Constitution requires a hearing before deprivation of property, not the “shoot first ask questions

later” system of adjudication authorized by the Ordinance.

       15.     Thus, the Ordinance not only violates the Illinois Vehicle Code, but also the due

process clause of the Illinois Constitution.

                                               PARTIES

       16.     Plaintiff Willis is an individual residing in Chicago, Illinois. The City mailed

several determinations of liability to Mr. Griffin in connection with thirty-one alleged speed and

red light camera violations that allegedly occurred on between 2010 and 2015. Mr. Willis was the

registered owner of the vehicles that were the subject of these alleged violations. Under duress,

Mr. Willis paid the fines and penalties assessed in connection with several of these alleged

violations. The alleged violations referenced above are subject to an administrative adjudication

under the Automated Enforcement Ordinance. In fact, Mr. Willis received new notices from the

City pursuant to the Automated Enforcement Ordinance with respect to these alleged violations

dated January 6, 2017 and with a response deadline of February 5, 2017.

       17.     Mr. Willis owns and operates a business that provides transportation for individuals

in medical emergencies. Several of the vehicles that were the subject of the alleged violations

referenced above were company vehicles. Mr. Willis was not the driver for several of these alleged

violations. Rather, several of these alleged violations occurred while his employees were operating

the vehicles during the course of their duties of transporting individuals in medical emergencies.

       18.     The City communicated a number of threats to Mr. Willis as a result of his non-

payment of several of these alleged violations, including threats to revoke his drivers’ license,

seize his vehicle(s), refer the alleged debt to a law firm or collection agency, notify credit bureaus,



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file a lien on his home or other property and institute wage garnishment proceedings. Directly in

response to the Simpson litigation, the City ceased enforcement of these and all alleged violations

subject to that suit. The Automated Enforcement Ordinance, however, purports to create a “new

and separate” assessment of liability for each such alleged violation, which “shall constitute a debt

due and owing the city, which may be enforced in the manner set forth in Section 2-14-103 of the

Code.” Automated Enforcement Ordinance at Section III(d)(2), (f) (Ex. A). Thus, while the City

ceased enforcement of alleged violations that are likely to be found void in the Simpson litigation,

the Automated Enforcement Ordinance purports to create “new and separate” liabilities for those

old violations that the City can seek to enforce.

       19.     Plaintiff McKenzie-Lopez is an individual residing in Chicago, Illinois. The City

mailed her several determinations of liability, dated between May 29, 2014 and July 31, 2014, in

connection with alleged speed and red light camera violations that allegedly occurred on April 29,

2014, May 14, 2014, May 22, 2014 and May 29, 2014. Ms. McKenzie-Lopez was the registered

owner of the vehicle that was the subject of all of these alleged violations. Under duress, Ms.

McKenzie-Lopez paid the fines and penalties assessed in connection with the alleged violation

issued to her on May 29, 2014, but has not paid the fines and penalties assessed in connection with

the alleged violations issued on April 29, 2014, May 14, 2014 and May 22, 2014. All of the alleged

violations referenced above are subject to administrative adjudications under the Automated

Enforcement Ordinance.

       20.     The City communicated a number of threats to Ms. McKenzie-Lopez as a result of

his non-payment of several of these alleged violations, including threats to revoke her drivers’

license, seize her vehicle, refer the alleged debt to a law firm or collection agency, notify credit

bureaus, file a lien on her home or other property and institute wage garnishment proceedings.



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Directly in response to the Simpson litigation, the City ceased enforcement of these and all alleged

violations subject to that suit. The Automated Enforcement Ordinance, however, purports to create

a “new and separate” assessment of liability for each such alleged violation, which “shall constitute

a debt due and owing the city, which may be enforced in the manner set forth in Section 2-14-103

of the Code.” Automated Enforcement Ordinance at Section III(d)(2), (f) (Ex. A). Thus, while

the City ceased enforcement of alleged violations that are likely to be found void in the Simpson

litigation, the Automated Enforcement Ordinance purports to create “new and separate” liabilities

for those old violations that the City can seek to enforce.

       21.     Plaintiff Lieschke is an individual residing in Chicago, Illinois. The City mailed a

determination of liability, dated August 12, 2010, to Ms. Lieschke in connection with an alleged

red light camera violation that allegedly occurred on June 26, 2010. Ms. Lieschke was the

registered owner of the vehicle that was the subject of this alleged violation. Under duress, Ms.

Lieschke paid the fines and penalties assessed in connection with this alleged violation. The

alleged violation referenced above is subject to an administrative adjudication under the

Automated Enforcement Ordinance. In fact, Ms. Lieschke received a new notice from the City

with respect to this alleged violation pursuant to the Automated Enforcement Ordinance dated

January 6, 2017 and with a response deadline of February 5, 2017.

       22.     Defendant City of Chicago (“Defendant” or the “City”) is an Illinois Municipal

Corporation.

                                    JURISDICTION AND VENUE

       23.     Jurisdiction is proper pursuant to 735 ILCS 5/2-209(a)(1), (3) and (12), (b)(3) and

(c) and venue is proper pursuant to 735 ILCS 5/2-101 because Plaintiffs are residents of Cook

County, Illinois, Defendant is the City of Chicago and the events and transactions giving rise to



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the claims asserted herein occurred in Cook County, Illinois.

                                     FACTUAL ALLEGATIONS

A.     The City’s red light and speed camera programs and the existing procedures for
       administrative adjudication of alleged violations.

       24.     On July 9, 2003, the City of Chicago enacted an ordinance referred to as the

automated traffic law enforcement (“ATL”) program, which authorized the use of automated

cameras to record images of vehicles allegedly used in violation of red light signals. See Municipal

Code of Chicago (“MCC”) §§ 9–102–010 to 9–102–070 (added July 9, 2003). This ordinance also

authorized procedures for the administrative adjudication of alleged ATL offenses. See MCC § 9-

102-030 (added July 9, 2003) (authorizing the use of “administrative adjudication procedures for

violations of Section 9-102-020”).

       25.     On April 18, 2012, the City of Chicago enacted an ordinance, referred to as the

automated speed enforcement (“ASE”) program, which authorized the use of automated cameras

to record images of vehicles allegedly used in violation of local speed limits. See MCC §§ 9–101–

010 to 9–101–070 (added April 18, 2012). This ordinance also authorized procedures for the

administrative adjudication of alleged ASE offenses. See MCC § 9-101-030 (added April 18,

2012) (authorizing the use of “administrative adjudication procedures for violations of Section 9-

101-020”).

B.     The City’s improper efforts to create new administrate procedures to adjudicate
       prior alleged ATL and ASE violations that were rendered illegal and void.

       26.     Since the inception of the ATL and ASE programs, the City failed to comply with

its own mandatory procedures for the administrative adjudication of alleged violations. More

specifically, the City repeatedly failed to issue a mandatory second notice to citizens accused of

ASE and ATL violations and prematurely issued liability determinations and late penalties. As a



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result of these unlawful practices, the City deprived citizens of the notice required under the law

while accelerating its ability to impose liability and double the amount due on the ticket. In effect,

the City illegally “sped up” the timeframe in which it could impose liability, fines and penalties

on those motorists.

        27.    On March 23, 2015, Plaintiffs brought a class action lawsuit against the City

seeking, among other things, a declaration that the fines and penalties assessed by the City in

violation of the MCC are void, an injunction preventing the City’s collection on and enforcement

of all such fines and penalties and to recoup the fines and penalties unlawfully collected by the

City. See Simpson et al. v. City of Chicago, Case No. 15 CH 4802 (Circuit Court of Cook County,

Illinois).

        28.    After it was served with the Simpson lawsuit, the City did not change its conduct to

conform to the law, but instead it simply changed the law. Specifically, at the behest of Mayor

Rahm Emanuel, the City removed the procedural safeguards that it had never followed since the

inception of the ATL and ASE programs.                See CHICAGO CITY COUNCIL, JOURNAL            OF

PROCEEDINGS, May 6, 2015, at 108500 § 3; MCC § 9-100-050(a) (as amended May 6, 2015).

        29.    On February 19, 2016, the Honorable Kathleen G. Kennedy issued an Opinion and

Order in the Simpson case in which she held that the notice provisions of the MCC were mandatory

and the City’s failure to follow those provisions rendered its actions void. See February 19, 2016

Opinion and Order at 13-16, attached hereto as Ex. B. Plaintiffs thereafter adduced evidence in

the Simpson litigation – including sworn testimony from the Managing Deputy Director of the

City’s Finance Department during a deposition on July 14, 2016 – confirming that for the duration

of the class period the City failed to send the required notices and prematurely accelerated liability

determinations and late penalties.



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        30.    Less than two months later, on Friday, September 9, 2016, Mayor Rahm Emanuel,

through the City’s Corporation Counsel, quietly proposed an ordinance under which new

administrative procedures would be created to adjudicate the same alleged ASE and ATL

violations that were the subject of the Simpson litigation and which would create “new and separate

assessment[s] of liability” for those past alleged violations. The proposed ordinance was quietly

placed on the following Monday’s agenda before the City’s Finance Committee, which

recommended its adoption. The Mayor signed the ordinance into law on September 21, 2016. See

Automated Enforcement Ordinance (Ex. A).

        31.    The Ordinance was not passed to benefit the citizens of Chicago, but rather was a

misguided and erroneous effort to make an end-run around the Court’s finding in the Simpson

litigation that the liability, fines and penalties assessed in connection with past ATL and ASE

violations are illegal and void. Because the liability, fines and penalties for those prior ATL and

ASE violations will, quite literally, be wiped off the books, the City is attempting to create “new

and separate” liabilities for past, pre-Ordinance offenses for which new fines and penalties can be

assessed. How, one might ask, can that occur in the United States of America? The answer is that

it cannot.

        32.    While the Mayor and the City Council are free to change their own local laws to

their benefit and at the expense of Chicagoans – a practice which they have repeatedly and

unabashedly engaged in since the filing of the Simpson suit – they are, thankfully, still bound by

the laws of the State of Illinois and the Illinois Constitution. These laws, which the Mayor cannot

simply change upon being caught breaking them, render the Automated Enforcement Ordinance

illegal and unconstitutional.




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        33.    Moreover, despite the Ordinance’s requirement that these new notices include

“information about how to view photos and/or video of the violation online,” Automated

Enforcement Ordinance at Section III(a)(7) (Ex. A), motorists were denied access to these photos

and videos on the website the City created for the purpose of administering the administrative

adjudications under the Ordinance. This was a wide-spread problem admitted to by the City. See,

e.g., David Kidwell, City admits mistake in trying to fix previous error on red light tickets,

CHICAGO       TRIBUNE,     January    8,    2017,     §    1,    at   15     (also      available   at

http://www.chicagotribune.com/news/watchdog/redlight/ct-red-light-camera-notices-0108-

20170106-story.html) (citing a City spokesperson who acknowledged a “glitch” and that some of

the photos and videos had “yet to be uploaded into the system” and also “suggested high traffic on

the website might be to blame”). Plaintiff Willis, for example, was unable to access the photos

and/or videos for a several of the alleged violations listed on his “review” notices.

        34.    Remarkably, when asked what the City is going to do for motorists affected by this

problem, a City spokesperson simply said “All we can do is apologize.” Id. Thus, in addition to

being illegal and unconstitutional, the City’s implementation of the Automated Enforcement

Ordinance was flawed, failed to provide the required information to motorists and failed to comply

with the terms of the Ordinance.

C.      The City exceeded its home rule authority in adopting the Automated Enforcement
        Ordinance because the Illinois Vehicle Code does not authorize the administrative
        adjudications created by the Ordinance.

        35.    The City exceeded its home rule authority in adopting the Automated Enforcement

Ordinance because the Illinois Vehicle Code does not authorize the administrative adjudications

created by the Ordinance. More specifically, the City’s power to create procedures for adjudicating

and enforcing the ATL and ASE programs stems exclusively from an authorizing act of the Illinois



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General Assembly. See 625 ILCS 5/11-207 (“[N]o local authority shall enact or enforce any

ordinance rule or regulation in conflict with the provisions of this Chapter unless expressly

authorized herein.”); 625 ILCS 5/11-208.1 (“The provisions of this Chapter of this Act … shall be

applicable and uniformly applied and enforced throughout this State, in all other political

subdivisions and in all units of local government.”); 625 ILCS 5/11-208.2 (“The provisions of this

Chapter of this Act limit the authority of home rule units to adopt local police regulations

inconsistent herewith….”).

       36.     Therefore, the City has no legal power to create any procedure for adjudicating or

enforcing alleged ATL or ASE violations that are inconsistent with or otherwise not authorized by

Section 11-208.3, 11-208.6 and 11-208.8 of the Illinois Vehicle Code.

       37.     While the Illinois Vehicle Code authorizes specified procedures for the

administrative adjudication of alleged ATL and ASE violations, nowhere does it authorize a

municipality to commence multiple proceedings against an individual for the same offense or to

adjudicate alleged violations that occurred prior to the adoption of the ordinance. See 625 ILCS

5/11-208.3. But that is exactly what the Automated Enforcement Ordinance purports to do.

       38.     As noted above, the only type of administrative proceedings authorized by the

Illinois Vehicle Code were already initiated years ago against every individual subject to the

Automated Enforcement Ordinance, culminating in the issuance of determinations of liability and

the termination of those proceedings. Despite the commencement and completion of the only type

of administrative adjudications authorized under the Illinois Vehicle Code, the Automated

Enforcement Ordinance purports to initiate subsequent administrative adjudications that are not

authorized by and are inconsistent with the Illinois Vehicle Code.




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        39.    These subsequent years-after-the-fact proceedings are not only inconsistent with

the Illinois Vehicle Code, but also completely undermine its stated purpose of ensuring the “fair

and efficient” adjudication of ATL and ASE violation. 625 ILCS 5/11-208.3(a). There is nothing

fair nor efficient in allowing the City to initiate a second proceeding against the same individuals

for the same offense years after they allegedly occurred.

        40.    For these reasons, the City exceeded its home rule authority in adopting the

Automated Enforcement Ordinance and, therefore, it is illegal, unconstitutional and void ab initio.

See, e.g., People ex rel. Ryan v. Vill. of Hanover Park, 311 Ill. App. 3d 515, 528–29 (1st Dist.

1999) (holding that villages’ alternative traffic programs were inconsistent with the Illinois

Vehicle Code and, therefore, invalid because even though “the ordinances track the language of

the Code en haec verba as it defines various offenses, they do not enforce those provisions as the

Code and attendant provisions contemplate.”) (emphasis in original).

D.      The Automated Enforcement Ordinance purports to authorize administrative
        adjudications of alleged ATL and ASE violations that occurred prior to its effective
        date in violation of the Illinois Vehicle Code.

        41.    While the Illinois Vehicle Code grants the City the right to administratively

adjudicate ATL and ASE violations, it explicitly prohibits the administrative adjudication of such

offenses that occurred prior to the effective date of the ordinance authorizing such adjudications.

See 625 ILCS 5/11-208.3(a) (“The administrative system shall only have authority to adjudicate

civil offenses … that occur after the effective date of the ordinance adopting such a system under

this Section.”) (emphasis added).

        42.    In other words, the City lacks the power to enforce prior alleged violations via the

new administrative adjudications established under the Automated Enforcement Ordinance. The

City may only adjudicate alleged violations pursuant to new ordinances prospectively. And this



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time the City cannot simply re-write the law to suit its purposes. Only the Illinois General

Assembly may amend the Illinois Compiled Statutes.

        43.     Because the Automated Enforcement Ordinance purports to authorize

administrative adjudications of ATL and ASE violations that occurred prior to its effective date, it

is illegal, unconstitutional and void ab initio.

E.      The Automated Enforcement Ordinance purports to initiate administrate
        adjudications of alleged ATL and ASE violations more than 90 days after the alleged
        offense in violation of the Illinois Vehicle Code.

        44.     Every individual subject to the Automated Enforcement Ordinance was already

subjected to prior administrative adjudications of their alleged ATL or ASE violations. Indeed,

the Ordinance itself is limited to individuals “to whom a determination of liability for a violation

of Section 9-101-020 or 9-102-20 of the Code was mailed between March 23, 2010 and May 14,

2015.” Automated Enforcement Ordinance at Section III(a) (Ex. A). Those prior proceedings

were terminated years ago. See, e.g., 735 ILCS 5/3-101 (“‘Administrative decision’ or ‘decision’

means any decision, order or determination of any administrative agency rendered in a particular

case, … which terminates the proceedings before the administrative agency.”). Those prior

proceedings were illegal and void due to the City’s failure to follow the mandatory notice

provisions of the MCC.

        45.     The Automated Enforcement Ordinance, by its own terms, purports to authorize

new administrative adjudications of alleged ATL and ASE violations that will result in new and

separate assessments of liability, fines and penalties. See Automated Enforcement Ordinance at

Section III (Ex. A).

        46.     As noted above, such a system of administrative adjudication must comply with the

requirements of the Illinois Vehicle Code. The notice provisions of the Automated Enforcement



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Ordinance, however, are inconsistent with the limitations imposed by the Illinois Vehicle Code.

        47.     More specifically, the Automated Enforcement Ordinance provides that the notice

initiating the administrative adjudications under the Ordinance be issued “within 14 months of the

effective date of this ordinance” (i.e., between September 21, 2016 and November 21, 2017).

Automated Enforcement Ordinance at Section III(a) (Ex. A). In fact, the City began issuing the

notices pursuant to the Automated Enforcement Order in December of 2016 and January of 2017.

        48.     The Illinois Vehicle Code, on the other hand, requires that any notice initiating the

administrative adjudication of alleged ATL or ASE violations be served “within 30 days after the

Secretary of State or the lessor of the motor vehicle notifies the municipality or county of the

identity of the owner or lessee of the vehicle, but not later than 90 days after the violation.” 625

ILCS 5/11-208.3(b)(3); see also 625 ILCS 5/11-208.6(d) (“For each violation of a provision of

this Code or a local ordinance recorded by an [ATL] enforcement system, the county or

municipality having jurisdiction shall issue a written notice of the violation to the registered owner

of the vehicle as the alleged violator. The notice shall be delivered to the registered owner of the

vehicle, by mail, within 30 days after the Secretary of State notifies the municipality or county of

the identity of the owner of the vehicle, but in no event later than 90 days after the violation.”);

625 ILCS 5/11-208.8(e) (“For each violation of a provision of this Code or a local ordinance

recorded by an [ASE] system, the municipality having jurisdiction shall issue a written notice of

the violation to the registered owner of the vehicle as the alleged violator. The notice shall be

delivered to the registered owner of the vehicle, by mail, within 30 days after the Secretary of State

notifies the municipality of the identity of the owner of the vehicle, but in no event later than 90

days after the violation.”).




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        49.     Because, by its own terms, the Automated Enforcement Ordinance seeks to

authorize the administrative adjudication of alleged ATL and ASE violations that occurred prior

to May 14, 2015, its notice provision – which provides for service of notice years after the alleged

violation – fails to comply with the 90-day time limitation imposed by the Illinois Vehicle Code.

        50.     In other words, the limitations imposed by the Illinois Vehicle Code were designed

to ensure that the administrative adjudication of alleged ATL and ASE violations are conducted

fairly and promptly, not years after the fact when memories have faded, access to evidence and

witnesses are lost or more difficult to track down, the City itself has problems providing motorists

access to photos and videos of the alleged violations and citizens likely no longer even have any

recollection of the alleged traffic offense.

        51.     Indeed, the stated purpose of Section 11-208.3 is for the “fair and efficient

enforcement of municipal or county regulations through the administrative adjudication of [ASE]

or [ATL] law violations.” 625 ILCS 5/11-208.3(a). Instituting administrative adjudications years

after – and in some cases seven years after – an alleged traffic offense occurred is anything but

“fair and efficient.”

        52.     Because the administrative adjudications authorized by the Automated

Enforcement Ordinance are initiated by notices sent more than 90 days after the alleged ATL or

ASE violation, it is illegal, unconstitutional and void ab initio.

F.      The Automated Enforcement Ordinance violates the Illinois Vehicle Code by
        imposing late penalties contemporaneously with a determination of liability.

        53.     Despite the fact that the Automated Enforcement Ordinance purports to establish

“new and separate assessment[s] of liability” for prior alleged ATL and ASE violations, it

automatically imposes late penalties on motorists contemporaneously with the new determination

of liability in violation of the Illinois Vehicle Code.

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       54.     More specifically, the Illinois Vehicle Code provides that “[i]n all municipalities…,

the automated speed enforcement system or automated traffic law ordinance shall require that no

additional fee shall be charged to the alleged violator for exercising his or her right to an

administrative hearing, and persons shall be given at least 25 days following an administrative

hearing to pay any civil penalty imposed by a finding that Section 11-208.6 [ATL], 11-208.8

[ASE], … or a similar local ordinance has been violated.” 625 ILCS 5/11-208.3(b)(3) (emphasis

added); see also 625 ILCS 5/11-208.6(j) (limiting initial fine for ATL violations to $100 and

providing that an additional $100 late payment penalty can only be assessed “for failure to pay the

original penalty … in a timely manner”); 625 ILCS 5/11-208.8(c)(1)-(2) (limiting initial fine for

ASE violations to $50-$100 and providing that an additional $50-$100 late payment penalty can

only be assessed “for failure to pay the original penalty in a timely manner”).

       55.     In other words, once a liability determination is administratively rendered, the

Illinois Vehicle Code requires that motorist be given at least 25 days to pay the underlying fine.

       56.     The Automated Enforcement Ordinance, however, directs that liability

determination shall be entered not only in the amount of the applicable fine, but also for the “late

payment penalty.” See Automated Enforcement Ordinance at Section III(d)(d) (Ex. A) (“If upon

conclusion of the hearing, the Administrative Law Officer finds that the Recipient is liable for the

violation, the Administrative Law Officer shall enter an order confirming liability in the total

amount of the earlier fine, late payment penalty and collection fee…. The confirmation shall be a

new and separate assessment of liability….”) (emphasis added); see also id. at Section III(f) (“If

the Recipient fails to respond to the review notice, the Department shall mail a written notice to

the Recipient confirming liability in the total amount of the earlier fine, late payment penalty and

collection fee…. The confirmation shall be a new and separate assessment of liability….”)



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(emphasis added).

        57.      Thus, under the Automated Enforcement Ordinance, motorists are not “given at

least 25 days following an administrative hearing to pay any civil penalty,” but rather are charged

a late payment penalty (and collection costs) at the very same time they are purportedly found

liable for the underlying fine. Because this violates Section 11-208.3(b)(3) of the Illinois Vehicle

Code, the Automated Enforcement Ordinance is illegal, unconstitutional and void ab initio.

G.      The Automated Enforcement Ordinance violates the due process clause of the Illinois
        Constitution.

        58.      When the government deprives citizens of liberty or property, due process requires

a hearing “at a meaningful time and in a meaningful manner.” Fuentes v. Shevin, 407 U.S. 67, 82

(1972). The Supreme Court “has traditionally insisted that, whatever its form, opportunity for that

hearing must be provided before the deprivation at issue takes effect.” Id. (emphasis added). As

the Supreme Court explained:

        If the right to notice and a hearing is to serve its full purpose, then, it is clear that it
        must be granted at a time when the deprivation can still be prevented. At a later
        hearing, an individual’s possessions can be returned to him if they were unfairly or
        mistakenly taken in the first place. Damages may even be awarded to him for the
        wrongful deprivation. But no later hearing and no damage award can undo the fact
        that the arbitrary taking that was subject to the right of procedural due process has
        already occurred. ‘This Court has not . . . embraced the general proposition that a
        wrong may be done if it can be undone.’

Id. at 81–82 (quoting Stanley v. Illinois, 405 U.S. 645, 647 (1972)); see also U.S. v. Wilson, 159

F.3d 280, 290 (7th Cir. 1998) (“[A] hearing at a ‘meaningful time’ generally means one held before

someone is separated from their property….”). 1




1
 Illinois courts “interpret the due process clause of our state constitution the same way that the United State
Supreme Court has interpreted the due process clause in the federal constitution.” Hope Clinic for Women,
Ltd. v. Flores, 2013 IL 112673, ¶ 50.
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         59.   Here, the Automated Enforcement Ordinance purports to authorize the

administrative adjudication of alleged ATL and ASE violations and the assessment of “new and

separate” liabilities after the City had already assessed and collected the underlying fines and

penalties. In fact, despite the fact that the Ordinance purports to establish “new and separate

liability” for which a “new and separate” debt arises, the City has already collected this new and

yet-to-be established debt years prior to the hearings authorized under the Ordinance to adjudicate

these “new and separate” liabilities.

         60.   In other words, the City wants to turn the Constitution on its head. The result of

this Ordinance would be to take money now (i.e., from 2010 to 2015) and determine liability much,

much later (by authorizing hearings that take place in 2017 to adjudicate the propriety of taking

that money years earlier). The due process clause of the Illinois Constitution was designed to

prevent precisely these kinds of results and the arbitrary governmental actions that bring them

about.

         61.   Furthermore, the unreasonable delay in providing a hearing in and of itself deprives

citizens “of the fundamental fairness which due process requires.” Stull v. Dept of Children &

Family Servs., 239 Ill. App. 3d 325, 335 (5th Dist. 1992) (holding that “nearly one year is an

unreasonable length of time” in administrative expungement hearing and, therefore, the delay

violated due process).

         62.   Here, the Automated Enforcement Ordinance purports to authorize administrative

hearings for alleged ATL and ASE violations that occurred, at a minimum, two to seven years ago.

This multi-year delay in adjudicating ATL and ASE violations is unreasonable on its face. Indeed,

as noted above, the City itself had problems providing motorists with the photos and/or videos of

alleged violations from years ago.



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       63.     Moreover, it is absurdly out of proportion with the time limits established by the

Illinois legislature for the “fair and efficient” adjudication of alleged ATL and ASE violations.

625 ILCS 5/11-208.3(a); see also Lyon v. Dep’t of Children & Family Servs., 209 Ill. 2d 264, 274

(2004) (“Violation of state requirements may not indicate a due process violation, and vice versa,

but these requirements are a useful reference because they represent standards that the General

Assembly … concluded were sufficient.”).

       64.     As noted above, the Illinois Vehicle Code requires that any notice initiating the

administrative adjudication of alleged ATL or ASE violations be served no later than 30 to 90 days

after the alleged violation. See 625 ILCS 5/11-208.3(b)(3); 625 ILCS 5/11-208.6(d); 625 ILCS

5/11-208.8(e). The provision of the Automated Enforcement Ordinance authorizing notice to be

served two to seven years after the alleged violation so grossly deviates from the time limitations

set by the Illinois Legislature that it unquestionably violates due process. See Weiner v. Illinois

Dep’t of Fin. & Prof’l Regulation, 2012 IL App (1st) 110190-U, ¶ 30 (“When considering whether

violation of a … deadline violates due process, the deadline provides guidance for what is

considered reasonable. ‘[A] gross deviation from [the] time limitations [set by the legislature]

would be deemed to be unreasonable….’”) (quoting Stull, 239 Ill. App. 3d at 334).

       65.     Because the Automated Enforcement Ordinance purports to authorize

administrative adjudications of liability for fines and penalties the City assessed and collected

years ago, it violates the due process clause of the Illinois Constitution, rendering the Ordinance

and its accompanying fines and penalties illegal, unconstitutional and void ab initio.

                                  CLASS ACTION ALLEGATIONS

       66.     Plaintiffs bring of this action pursuant to 735 ILCS 5/2-801 of the Illinois Code of

Civil Procedure on behalf of a class of similarly situated individuals defined as follows:



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         All individuals or entities to whom a determination of liability for an alleged
         violation of 9-101-020 or 9-102-020 of the Municipal Code of Chicago was mailed
         between March 23, 2010 and May 14, 2015 who did not (i) request or receive a
         hearing on the violation; or (ii) pay the fine for the violation on or prior to the date
         the determination of liability was mailed; and as to whom liability for the violation
         has not been released, set aside or extinguished (the “Class”).

         67.      The members of the Class are so numerous that joinder of all members is

impracticable. Based on investigation by Plaintiffs’ counsel, public statements made by the City’s

Corporation Counsel and publicly available information on the volume of alleged ATL and ASE

violations issued by the City, it is estimated that the Class will comprise in excess of one million

members. The exact number of members of the Class can be determined from records maintained

by the City.

         68.      Common questions of law and fact exist as to the Class, including, but not limited

to:

               a. Whether the Illinois Vehicle Code authorizes the administrative adjudications
                  created by the Automated Enforcement Ordinance;

               b. Whether the Automated Enforcement Ordinance is illegal and unconstitutional
                  because it purports to authorize the administrative adjudication of alleged ATL and
                  ASE offenses that occurred prior to its effective date in violation of 625 ILCS 5/11-
                  208.3(a);

               c. Whether the Automated Enforcement Ordinance is illegal and unconstitutional
                  because the notice initiating the administrative adjudication of alleged ATL or ASE
                  offenses under the Ordinance is to be served more than 90 days after the alleged
                  offense in violation 625 ILCS 5/11-208.3(b)(3), 625 ILCS 5/11-208.6(d) and 625
                  ILCS 5/11-208.8(e);

               d. Whether the Automated Enforcement Ordinance is illegal and unconstitutional
                  because it provides that late payment penalties be assessed contemporaneously with
                  the determination of liability in violation of 625 ILCS 5/11-208.3(b)(3); and

               e. Whether the Automated Enforcement Ordinance violates due process by purporting
                  to authorize administrative adjudications of liability for fines and penalties the City
                  already collected years ago.




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          69.   These common questions predominate over questions, if any, affecting solely

individual class members.

          70.   Plaintiffs will fairly and adequately protect the interests of class members.

Plaintiffs have retained competent counsel experienced in class action litigation in state and federal

courts nationwide and Plaintiffs have no interest adverse to any class members. Plaintiffs intend

to prosecute this case vigorously on behalf of themselves and the class members.

          71.   A class action is an appropriate method for the fair and efficient adjudication of this

controversy because it involves the legality and constitutionality of an Ordinance applicable to

Plaintiffs and all class members. A class action can therefore best secure the economies of time,

effort and expense or accomplish the other ends of equity and justice that this action seeks to

obtain.

                                              COUNT I
                          DECLARATORY, INJUNCTIVE AND OTHER RELIEF
                              (Violation of Home Rule Authority)

          72.   Plaintiffs adopt and incorporate by reference all prior paragraphs of this Complaint

as if fully set forth herein.

          73.   Pursuant to 735 ILCS 5/2-701(a), this Court may “make binding declarations of

rights, having the force of final judgments … including the determination … of the construction

of any statute, municipal ordinance, or other governmental regulation … and a declaration of the

rights of the parties interested.” Such a declaration of rights “may be obtained … as incident to or

part of a complaint … seeking other relief as well.” 735 ILCS 5/2-701(b).

          74.   Plaintiffs seek a judgment declaring that the Automated Enforcement Ordinance is

unconstitutional because it exceeds the City’s home rule authority as specifically limited by the

Illinois Vehicle Code.



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        75.     Plaintiffs have a personal claim which is capable of being affected and are entitled

to the requested declaratory relief. As detailed above, this case presents an actual controversy that

requires an immediate and definitive determination of the parties’ rights.

        76.     Plaintiffs possess a clearly ascertainable right to be free from the unconstitutional

actions set forth above and are currently in need of protection. As detailed above, Plaintiffs have

raised a fair question concerning the existence of this right.

        77.     For the reasons set forth above, Plaintiffs have a likelihood of success on the merits.

        78.     Plaintiffs and class members will suffer irreparable harm if an injunction is not

granted. The initiations of administrative adjudications, the collection of fines and penalties

related thereto and the threat of vehicle seizure, driver’s license revocation, debt collection actions,

notifying credit bureaus, filing liens, instituting wage garnishment proceedings and other such

actions will cause substantial, immediate and continuing damage to Plaintiffs and class members.

As a result, Plaintiffs and class members may suffer irreversible damage to their credit from

threatened collection actions by the City and the possible reporting of non-payment to credit

agencies, be subject to vehicle seizure and/or driver’s license revocation and suffer other harm and

inconveniences as a result of the City’s implementation and enforcement of the unconstitutional

Ordinance. There is no adequate remedy at law available to Plaintiffs and class members that

would protect against the above harms.

        79.     To the extent the City has assessed any fines, penalties or other amounts pursuant

to the Automated Enforcement Ordinance, all such fines, penalties or other amounts should be

declared illegal and void. To the extent the City has collected any such fines, penalties or other

amounts (or applied previously collected such fines, penalties or other amounts) it should be

required to refund them.



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        WHEREFORE, Plaintiffs pray that the Court:

        A.      Declare that the Automated Enforcement Ordinance is unconstitutional and void;

        B.      Grant preliminary and permanent injunctive relief prohibiting the City from

                implementing and enforcing the Automated Enforcement Ordinance;

        C.      Declare that any fines, penalties or other amounts assessed by the City pursuant to

                the Automated Enforcement Ordinance are illegal and void;

        D.      Order the City to refund any and all amounts collected or applied pursuant to the

                Automated Enforcement Ordinance, including pre- and post-judgment interest;

        E.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

        F.      Order such other and further relief as this Court deems equitable, just and proper.

                                            COUNT II
                         DECLARATORY, INJUNCTIVE AND OTHER RELIEF
                   (Violation of Prohibition on Adjudication of Offenses Prior
                     to Effective Date of Ordinance, 625 ILCS 5/11-208.3(a))

        80.     Plaintiffs adopt and incorporate by reference all prior paragraphs of this Complaint

as if fully set forth herein.

        81.     Pursuant to 735 ILCS 5/2-701(a), this Court may “make binding declarations of

rights, having the force of final judgments … including the determination … of the construction

of any statute, municipal ordinance, or other governmental regulation … and a declaration of the

rights of the parties interested.” Such a declaration of rights “may be obtained … as incident to or

part of a complaint … seeking other relief as well.” 735 ILCS 5/2-701(b).

        82.     Plaintiffs seek a judgment declaring that the Automated Enforcement Ordinance is

illegal and unconstitutional because it purports to authorize the administrative adjudication of

alleged ATL and ASE offenses that occurred prior to its effective date in violation of 625 ILCS

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5/11-208.3(a).

        83.      Plaintiffs have a personal claim which is capable of being affected and are entitled

to the requested declaratory relief. As detailed above, this case presents an actual controversy that

requires an immediate and definitive determination of the parties’ rights.

        84.      Plaintiffs possess a clearly ascertainable right to be free from the unconstitutional

actions set forth above and are currently in need of protection. As detailed above, Plaintiffs have

raised a fair question concerning the existence of this right.

        85.      For the reasons set forth above, Plaintiffs have a likelihood of success on the merits.

        86.      Plaintiffs and class members will suffer irreparable harm if an injunction is not

granted. The initiations of administrative adjudications, the collection of fines and penalties

related thereto and the threat of vehicle seizure, driver’s license revocation, debt collection actions,

notifying credit bureaus, filing liens, instituting wage garnishment proceedings and other such

actions will cause substantial, immediate and continuing damage to Plaintiffs and class members.

As a result, Plaintiffs and class members may suffer irreversible damage to their credit from

threatened collection actions by the City and the possible reporting of non-payment to credit

agencies, be subject to vehicle seizure and/or driver’s license revocation and suffer other harm and

inconveniences as a result of the City’s implementation and enforcement of the illegal and

unconstitutional Ordinance. There is no adequate remedy at law available to Plaintiffs and class

members that would protect against the above harms.

        87.      To the extent the City has assessed any fines, penalties or other amounts pursuant

to the Automated Enforcement Ordinance, all such fines, penalties or other amounts should be

declared illegal and void. To the extent the City has collected any such fines, penalties or other

amounts (or applied previously collected such fines, penalties or other amounts) it should be



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required to refund them.

        WHEREFORE, Plaintiffs pray that the Court:

        A.      Declare that the Automated Enforcement Ordinance is illegal, unconstitutional and

                void;

        B.      Grant preliminary and permanent injunctive relief prohibiting the City from

                implementing and enforcing the Automated Enforcement Ordinance;

        C.      Declare that any fines, penalties or other amounts assessed by the City pursuant to

                the Automated Enforcement Ordinance are illegal and void;

        D.      Order the City to refund any and all amounts collected or applied pursuant to the

                Automated Enforcement Ordinance, including pre- and post-judgment interest;

        E.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

        F.      Order such other and further relief as this Court deems equitable, just and proper.

                                         COUNT III
                        DECLARATORY, INJUNCTIVE AND OTHER RELIEF
               (Violation of 90-Day Notice Provision, 625 ILCS 5/11-208.3(b)(3),
                      625 ILCS 5/11-208.6(d) and 625 ILCS 5/11-208.8(e))

        88.     Plaintiffs adopt and incorporate by reference all prior paragraphs of this Complaint

as if fully set forth herein.

        89.     Pursuant to 735 ILCS 5/2-701(a), this Court may “make binding declarations of

rights, having the force of final judgments … including the determination … of the construction

of any statute, municipal ordinance, or other governmental regulation … and a declaration of the

rights of the parties interested.” Such a declaration of rights “may be obtained … as incident to or

part of a complaint … seeking other relief as well.” 735 ILCS 5/2-701(b).




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       90.     Plaintiffs seek a judgment declaring that the Automated Enforcement Ordinance is

illegal and unconstitutional because the notice initiating the administrative adjudication of alleged

ATL or ASE offenses under the Ordinance is to be served more than 90 days after the alleged

offense in violation 625 ILCS 5/11-208.3(b)(3), 625 ILCS 5/11-208.6(d) and 625 ILCS 5/11-

208.8(e).

        91.     Plaintiffs have a personal claim which is capable of being affected and are entitled

to the requested declaratory relief. As detailed above, this case presents an actual controversy that

requires an immediate and definitive determination of the parties’ rights.

        92.     Plaintiffs possess a clearly ascertainable right to be free from the unconstitutional

actions set forth above and are currently in need of protection. As detailed above, Plaintiffs have

raised a fair question concerning the existence of this right.

        93.     For the reasons set forth above, Plaintiffs have a likelihood of success on the merits.

        94.     Plaintiffs and class members will suffer irreparable harm if an injunction is not

granted. The initiations of administrative adjudications, the collection of fines and penalties

related thereto and the threat of vehicle seizure, driver’s license revocation, debt collection actions,

notifying credit bureaus, filing liens, instituting wage garnishment proceedings and other such

actions will cause substantial, immediate and continuing damage to Plaintiffs and class members.

As a result, Plaintiffs and class members may suffer irreversible damage to their credit from

threatened collection actions by the City and the possible reporting of non-payment to credit

agencies, be subject to vehicle seizure and/or driver’s license revocation and suffer other harm and

inconveniences as a result of the City’s implementation and enforcement of the illegal and

unconstitutional Ordinance. There is no adequate remedy at law available to Plaintiffs and class

members that would protect against the above harms.



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        95.     To the extent the City has assessed any fines, penalties or other amounts pursuant

to the Automated Enforcement Ordinance, all such fines, penalties or other amounts should be

declared illegal and void. To the extent the City has collected any such fines, penalties or other

amounts (or applied previously collected such fines, penalties or other amounts) it should be

required to refund them.

        WHEREFORE, Plaintiffs pray that the Court:

        A.      Declare that the Automated Enforcement Ordinance is illegal, unconstitutional and

                void;

        B.      Grant preliminary and permanent injunctive relief prohibiting the City from

                implementing and enforcing the Automated Enforcement Ordinance;

        C.      Declare that any fines, penalties or other amounts assessed by the City pursuant to

                the Automated Enforcement Ordinance are illegal and void;

        D.      Order the City to refund any and all amounts collected or applied pursuant to the

                Automated Enforcement Ordinance, including pre- and post-judgment interest;

        E.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

        F.      Order such other and further relief as this Court deems equitable, just and proper.

                                          COUNT IV
                         DECLARATORY, INJUNCTIVE AND OTHER RELIEF
               (Illegal Assessment of Late Payment Penalty Contemporaneously
                with the Determination of Liability, 625 ILCS 5/11-208.3(b)(3))

        96.     Plaintiffs adopt and incorporate by reference all prior paragraphs of this Complaint

as if fully set forth herein.

        97.     Pursuant to 735 ILCS 5/2-701(a), this Court may “make binding declarations of

rights, having the force of final judgments … including the determination … of the construction

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of any statute, municipal ordinance, or other governmental regulation … and a declaration of the

rights of the parties interested.” Such a declaration of rights “may be obtained … as incident to or

part of a complaint … seeking other relief as well.” 735 ILCS 5/2-701(b).

       98.     Plaintiffs seek a judgment declaring that the Automated Enforcement Ordinance is

illegal and unconstitutional because it provides that late payment penalties be assessed

contemporaneously with the determination of liability in violation of 625 ILCS 5/11-208.3(b)(3).

        99.     Plaintiffs have a personal claim which is capable of being affected and are entitled

to the requested declaratory relief. As detailed above, this case presents an actual controversy that

requires an immediate and definitive determination of the parties’ rights.

        100.    Plaintiffs possess a clearly ascertainable right to be free from the unconstitutional

actions set forth above and are currently in need of protection. As detailed above, Plaintiffs have

raised a fair question concerning the existence of this right.

        101.    For the reasons set forth above, Plaintiffs have a likelihood of success on the merits.

        102.    Plaintiffs and class members will suffer irreparable harm if an injunction is not

granted. The initiations of administrative adjudications, the collection of fines and penalties

related thereto and the threat of vehicle seizure, driver’s license revocation, debt collection actions,

notifying credit bureaus, filing liens, instituting wage garnishment proceedings and other such

actions will cause substantial, immediate and continuing damage to Plaintiffs and class members.

As a result, Plaintiffs and class members may suffer irreversible damage to their credit from

threatened collection actions by the City and the possible reporting of non-payment to credit

agencies, be subject to vehicle seizure and/or driver’s license revocation and suffer other harm and

inconveniences as a result of the City’s implementation and enforcement of the illegal and

unconstitutional Ordinance. There is no adequate remedy at law available to Plaintiffs and class



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members that would protect against the above harms.

        103.    To the extent the City has assessed any fines, penalties or other amounts pursuant

to the Automated Enforcement Ordinance, all such fines, penalties or other amounts should be

declared illegal and void. To the extent the City has collected any such fines, penalties or other

amounts (or applied previously collected such fines, penalties or other amounts) it should be

required to refund them.

        WHEREFORE, Plaintiffs pray that the Court:

        A.      Declare that the Automated Enforcement Ordinance is illegal, unconstitutional and

                void;

        B.      Grant preliminary and permanent injunctive relief prohibiting the City from

                implementing and enforcing the Automated Enforcement Ordinance;

        C.      Declare that any fines, penalties or other amounts assessed by the City pursuant to

                the Automated Enforcement Ordinance are illegal and void;

        D.      Order the City to refund any and all amounts collected or applied pursuant to the

                Automated Enforcement Ordinance, including pre- and post-judgment interest;

        E.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this

                action; and

        F.      Order such other and further relief as this Court deems equitable, just and proper.

                                            COUNT V
                         DECLARATORY, INJUNCTIVE AND OTHER RELIEF
                    (Violation of Due Process Under the Illinois Constitution)

        104.    Plaintiffs adopt and incorporate by reference all prior paragraphs of this Complaint

as if fully set forth herein.




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        105.    Pursuant to 735 ILCS 5/2-701(a), this Court may “make binding declarations of

rights, having the force of final judgments … including the determination … of the construction

of any statute, municipal ordinance, or other governmental regulation … and a declaration of the

rights of the parties interested.” Such a declaration of rights “may be obtained … as incident to or

part of a complaint … seeking other relief as well.” 735 ILCS 5/2-701(b).

        106.    Plaintiffs seek a judgment declaring that the Automated Enforcement Ordinance

violates the due process clause of the Illinois Constitution by purporting to authorize administrative

adjudications of liability for fines and penalties the City already assessed and collected and/or due

to the multiple-year delay between the alleged offense and the initiation of the administrative

adjudications under the Ordinance.

        107.    Plaintiffs have a personal claim which is capable of being affected and are entitled

to the requested declaratory relief. As detailed above, this case presents an actual controversy that

requires an immediate and definitive determination of the parties’ rights.

        108.    Plaintiffs possess a clearly ascertainable right to be free from the unconstitutional

actions set forth above and are currently in need of protection. As detailed above, Plaintiffs have

raised a fair question concerning the existence of this right.

        109.    For the reasons set forth above, Plaintiffs have a likelihood of success on the merits.

        110.    Plaintiffs and class members will suffer irreparable harm if an injunction is not

granted. The initiations of administrative adjudications, the collection of fines and penalties

related thereto and the threat of vehicle seizure, driver’s license revocation, debt collection actions,

notifying credit bureaus, filing liens, instituting wage garnishment proceedings and other such

actions will cause substantial, immediate and continuing damage to Plaintiffs and class members.

As a result, Plaintiffs and class members may suffer irreversible damage to their credit from



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threatened collection actions by the City and the possible reporting of non-payment to credit

agencies, be subject to vehicle seizure and/or driver’s license revocation and suffer other harm and

inconveniences as a result of the City’s implementation and enforcement of the illegal and

unconstitutional Ordinance. There is no adequate remedy at law available to Plaintiffs and class

members that would protect against the above harms.

       111.    To the extent the City has assessed any fines, penalties or other amounts pursuant

to the Automated Enforcement Ordinance, all such fines, penalties or other amounts should be

declared illegal and void. To the extent the City has collected any such fines, penalties or other

amounts (or applied previously collected such fines, penalties or other amounts) it should be

required to refund them.

       WHEREFORE, Plaintiffs pray that the Court:

       A.      Declare that the Automated Enforcement Ordinance violates the due process clause

               of the Illinois Constitution and, therefore, is unconstitutional and void;

       B.      Grant preliminary and permanent injunctive relief prohibiting the City from

               implementing and enforcing the Automated Enforcement Ordinance;

       C.      Declare that any fines, penalties or other amounts assessed by the City pursuant to

               the Automated Enforcement Ordinance are illegal and void;

       D.      Order the City to refund any and all amounts collected or applied pursuant to the

               Automated Enforcement Ordinance, including pre- and post-judgment interest;

       E.      Grant an award of reasonable attorneys’ fees and all expenses and costs of this

               action; and

       F.      Order such other and further relief as this Court deems equitable, just and proper.




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                                         JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues that may be tried and decided by jury.

Dated: January 26, 2017

                                                     Respectfully submitted,



                                                     By: _______/s/ Jacie C. Zolna_________
                                                         One of Plaintiffs’ Attorneys
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